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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 In the Matter of the Federal Bureau of Prisons’
 Execution Protocol Cases,

 LEAD CASE: Roane et al. v. Barr

 THIS DOCUMENT RELATES TO:                                   Case No. 19-mc-0145 (TSC)

 Lee & Honken v. Barr, 19-cv-2559

 Purkey v. Barr et al., 19-cv-3214

 Nelson v. Barr et al., 20-cv-557


    PLAINTIFFS’ EMERGENCY NOTICE REQUESTING RULING ON PENDING
                             MOTION

       Plaintiffs Wesley Purkey, Dustin Honken, and Keith Nelson respectfully request that the

Court issue a preliminary injunction on the remaining grounds that they asserted in their motion

for preliminary injunction (Dkt. #102), and which the Court left unresolved when it issued such

relief on Plaintiffs’ Eighth Amendment claim (Dkt. #135, 136). Plaintiffs state as follows:

       1.      On June 1, 2020, following limited discovery as permitted by the Court, all

Plaintiffs to the above-captioned action filed an amended complaint regarding the federal

execution protocol that was newly announced on July 25, 2019. Dkt. #92.

       2.      Two weeks later, on June 15, 2020, the Government announced that it had set

execution dates against Plaintiffs Lee (for July 13), Purkey (July 15), Honken (July 17), and

Nelson (August 28). See Dkt. #99.

       3.      On June 19, 2020, these four Plaintiffs moved the Court for a preliminary

injunction concerning the scheduled executions. Dkt. #102. The joint motion asserted four

separate grounds for relief: first, that the Government’s 2019 Protocol is arbitrary and capricious



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under the Administrative Procedure Act; second, that the method described in the Protocol

violates the Eighth Amendment’s prohibition against cruel and unusual punishment; third, that

the Protocol violates the Controlled Substances Act and the Food, Drug and Cosmetic Act is

therefore “contrary to law” under the APA; and fourth, that the Protocol violates the Plaintiffs’

right to counsel.

       4.      On July 13, 2020, the Court granted, in part, the joint motion for preliminary

injunction. Dkt. #135, 136. The Court granted injunctive relief on the prisoners’ Eighth

Amendment claim, but it declined to issue a ruling on the remaining three grounds described

above. See Dkt. #135 at 18.

       5.      At approximately 2:00 a.m. on July 14, 2020, the Supreme Court vacated this

Court’s preliminary injunction in a 5-4 decision, holding that the prisoners were not likely to

succeed on the merits of their Eighth Amendment claim. See Barr v. Lee, --- . S. Ct. ---, No.

20A8, 2020 WL 3964985 (U.S. Jul. 14, 2020).

       6.      At approximately 8 a.m., Defendants executed Plaintiff Lee despite the pendency

of Lee’s claims in this Court. See Dkt. #102, 103, 143.

       7.      Following the Supreme Court’s vacatur, Plaintiffs’ three remaining grounds for

preliminary injunctive relief remain pending before this Court. Plaintiffs Purkey, Honken, and

Nelson have an overriding interest in ensuring that their meritorious claims are fully and fairly

adjudicated before the Government extinguishes those claims by executing the prisoners who

assert them. Because Plaintiffs face imminent execution, they respectfully request a ruling on

their remaining grounds as promptly as possible.

       8.      The Court is already familiar with the merits of the Plaintiffs’ remaining grounds,

as well as with the parties’ arguments concerning the appropriateness of a preliminary injunction.




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Plaintiffs therefore refer the Court to the previous pleadings of relevance, specifically, Dkt. #102

(motion for preliminary injunction, including proposed order); Dkt. #113-1 (Defendants’

opposition to motion for preliminary injunction); Dkt. #118 (reply memorandum in support of

motion for preliminary injunction); Dkt. #123 (supplemental affidavit of Gail Van Norman,

M.D.); and Dkt. #124 (Defendants’ surreply in opposition to motion for preliminary injunction).

       9.      The Supreme Court’s decision in Lee does not impair the appropriateness of a

preliminary injunction on Plaintiffs’ remaining grounds. The Supreme Court addressed the

merits only of the prisoners’ Eighth Amendment claim, and as Plaintiffs have already explained

at length, their remaining claims are not governed by the Eighth Amendment. See Dkt. #102 at

10, Dkt. #118 at 1-8. Of particular relevance here, the Supreme Court described the “competing

expert testimony” concerning the risk that the Protocol will cause flash pulmonary edema, and

that the prisoner will experience the excruciating sense of drowning while still sensate. Lee, 2020

WL 3964985 at *2. That fact itself supports the prisoners’ claims, as the Administrative Record

reflects no consideration of that risk. Regardless of whether the conflicting evidence creates a

viable Eighth Amendment claim, the conflict itself underscores the BOP’s failure to consider any

scientific evidence other than its own hand-picked materials that support the Protocol.

Defendants have therefore “entirely failed to consider [an] important aspect of the problem,”

Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983), and their

Protocol is arbitrary and capricious. See Dkt. #102 at 5-10; Dkt. #118 at 3-4. The Supreme

Court’s conclusion with respect to the Eighth Amendment has no bearing on that question. See,

e.g., Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891, 1905 (2020)

(holding DACA rescission arbitrary and capricious even though all parties agreed that DHS

could lawfully rescind DACA if it followed the correct procedure and considered all important




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aspects of the problem); Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,

No. 19-431, 2020 WL 3808424, at *25 (U.S. July 8, 2020) (Kagan, J., concurring) (“Even in an

area of broad statutory authority—maybe especially there—agencies must rationally account for

their judgments.”); Animal Legal Def. Fund, Inc. v. Perdue, 872 F.3d 602, 619 (D.C. Cir. 2017)

(“Agency action may be consistent with the agency’s authorizing statute and yet arbitrary and

capricious under the APA.”).

       10.     Plaintiffs are mindful of the need to avoid “last-minute stays,” Lee, 2020 WL

3964985 at *2, which is why they respectfully request that the Court issue a preliminary

injunction as immediately as possible. Plaintiffs have acted as promptly as possible. Even though

Defendants scheduled execution dates with only a few weeks’ notice, Plaintiffs moved for a

preliminary injunction four days later. This is not a case, then, in which the Plaintiffs’ claims

“could have been brought at such a time as to allow consideration of the merits without requiring

entry of a stay.” Hill v. McDonough, 547 U.S. 573, 584 (2006). On the very date that the

Government announced the 2019 Protocol, it announced execution dates against Plaintiffs Lee,

Purkey, Honken, and two other prisoners. See “Federal Government to Resume Capital

Punishment After Nearly Two Decade Lapse” (press release, Jul. 25, 2019), available at

https://www.justice.gov/opa/pr/federal-government-resume-capital-punishment-after-nearly-two-

decade-lapse. By announcing an execution method and execution dates within the same breath,

the Defendants guaranteed that the Protocol’s legality would be determined in a stay-of

execution posture. That posture remains in effect now, and Plaintiffs are not responsible for the

fact that Defendants scheduled the most recent execution dates with less than a month’s notice.

See Dkt. #135 at 3 (“The Government is entitled to choose dates, but the court cannot take short




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cuts in its obligations in order to accommodate those dates.”).

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court preliminarily

enjoin Defendants from proceeding with Plaintiffs’ executions on the basis of the Plaintiffs’

three remaining claims, and that it do so imminently.


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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 14, 2020, I caused a true and correct copy of foregoing to be

served on all counsel of record via the Court’s CM/ECF system. Pursuant to this Court’s August

20, 2019 Order, below is a list of all counsel of record. The names marked with an asterisk (*)

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